Case 2:05-md-01657-EEF-DEK Document 5605 Filed 06/26/06 Page 1 of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIAN

In Re: VIOXX
Products Liability Litigation
This Document Relates to: Judge Fallon

Lynda Lowe, etc. v. PJC Realty MA, Inc., et al.
Docket No. 05-6173, Eastern District of LA

Mag. Judge Knowles

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DEFENDANT PJC REALTY MA, INC.’S
MOTION FOR JUDGMENT ON THE PLEADINGS
OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT

Defendant PJC Realty MA, Inc. (“PJC”) hereby moves for judgment on the pleadings or,
in the alternative, for summary judgment as to all counts of plaintiff's Complaint. As grounds
therefor, PJC states as follows:

1. In her Complaint, plaintiff asserts claims for “Wrongful Death Predicated on
Negligence,” and “Punitive Damages Predicated on Gross negligence and/or Willful or Reckless
Conduct.”

2. The only allegations plaintiff makes as to PJC are that: (1) the “negligent and
wrongful conduct of the Defendant, PJC, proximately caused the death of Ernest Lowe,”
Complaint, (23; (2) the “wrongful conduct of the Defendant, PJC Realty MA, Inc., constitutes
gross negligence and/or willful conduct,” /d., $26; and (3) as a direct and proximate result of that
conduct, “Ernest Lowe suffered severe personal injuries and great pain of body and anguish of
mind, as a result of which he died.” fd., 927.

3. PIC is a corporate entity created to own and lease real estate located in

Massachusetts.

4. PJC was formed on May 21, 2003.

Case 2:05-md-01657-EEF-DEK Document 5605 Filed 06/26/06 Page 2 of 3

5, Ernest Lowe died on July 5, 2002.

6. Lynda Lowe was named the Adminisiratrix of Ernest Lowe’s estate on November
8, 2002,

7. PJC has no involvement in, control of, or influence over, the business operations
of Brooks.

8. PJC has never been involved in anyway with the distribution or sale of any

prescription medication or drug, including VIOXX®.

9, Plaintiffs Complaint includes ne allegation connecting any conduct of PIC with
the decedent’s use of VIOXX® and his ensuing injuries and death.

10. The bare-bones, conclusory allegations of negligence and wrongful conduct
without any factual allegation connecting PIC to VIOXX® or the decedent’s use of VIOXX®
are patently insufficient to raise any issue of material fact necessary to establish that PJC has any
liability to plaintiff. Accordingly, PIC is entitled to judgment on the pleadings.

11. In the alternative, on the undisputed facts that PIC is merely a real estate holding
company formed after Mr. Lowe’s death and with no connection whatsoever to VIOXX®, PJC is
entitled to summary judgment on all counts of the Complaint.

12, The grounds for this Motion are more fully set forth in the Memorandum in
Support of Defendant PJC Realty MA, Inc.’s Motion for Judgment on the Pleadings or, in the
Alternative, for Summary Judgment, filed herewith. PJC’s District of Massachusetts Local Rule
56.1 Statement of Material Facts Not in Dispute is included in its Memorandum. In further
support of this Motion, PJC also relies upon the Affidavit of Allyson Jones-Phillip, filed

herewith.
Case 2:05-md-01657-EEF-DEK Document 5605 Filed 06/26/06 Page 3 of 3

WHEREFORE, PIC respectfully requests that the Court grant PIC judgment on the
pleadings under Fed. R. Civ. P. 12(c) or, in the alternative, enter summary judgment in its favor
on all counts of the Complaint.

Respectfully submitted,
PJC REALTY MA, INC.

By its Attorneys,

Marjérie S6mmer Cooke
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Dated: June 23, 2006

CERTIFICATE OF SERVICE

[ hereby certify that the above and foregoing document has been served on Liaison
Counsel, Russ Herman and Phillip Wittmann, by U.S. mail and e-mail and upon all parties by
electronically uploading the same to LexisNexis File & Serve Advanced in accordance with
PreTrial Order No. 8, on this 23rd day of June, 2006.

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Jason NiederKorn

